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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

BRADLEY T. PETERSON,

            Plaintiff,

                                              Case No. 20-10002
v.                                            Honorable Linda V. Parker

JEFFREY WICKHAM,
NICK JOHNS, CITY OF BELLEVILLE,
STATE OF MICHIGAN, CITY OF
ROMULUS, and WAYNE COUNTY,

          Defendants.
________________________________/

ORDER DISMISSING PLAINTIFF’S CLAIMS AGAINST DEFENDANTS
CITY OF ROMULUS AND WAYNE COUNTY FOR FAILURE TO SERVE
   PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4(m)

      On January 2, 2020, Plaintiff filed this civil rights action against Defendants.

(ECF No. 1.) The Court has dismissed Plaintiff’s claims with prejudice against all

defendants, except the City of Romulus and Wayne County. (ECF Nos. 23, 27.)

Plaintiff has never served the City of Romulus or Wayne County with a summons

or copy of his Complaint.

      Therefore, on July 1, 2021, the Court entered an order on July 1, 2021,

requiring Plaintiff to show cause as to why his claims against these defendants

should not be dismissed pursuant to Federal Rule of Civil Procedure 4(m). (ECF

No. 29.) After receiving a response from Plaintiff, the Court issued an opinion and
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order on November 2, 2021, giving Plaintiff an additional 30 days to accomplish

service. (ECF No. 32.) The Court warned Plaintiff that if he “fail[ed] to complete

service and file a certificate of service on the docket within 30 days, the Court may

dismiss without prejudice Plaintiff’s claims against these defendants without

further notice for failure to timely serve.” (Id. at Pg ID 393.)

      As of this date, Plaintiff has not filed a certificate of service or otherwise

informed the Court that he completed service on the City of Romulus or Wayne

County.

      Accordingly,

      IT IS ORDERED that Plaintiff’s claims against the City of Romulus and

Wayne County are DISMISSED WITHOUT PREJUDICE pursuant to Federal

Rule of Civil Procedure 4(m).

      IT IS SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE
 Dated: December 6, 2021



 I hereby certify that a copy of the foregoing document was mailed to counsel of
 record and/or pro se parties on this date, December 6, 2021, by electronic and/or
 U.S. First Class mail.


                                                s/Aaron Flanigan
                                                Case Manager
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